                                                                      Case.net: 20BU-CV00342 - Docket Entries




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                   20BU-CV00342 - JIMMY BRIDEN ET AL V TRIUMPH FOODS, LLC (E-CASE)


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  02/07/2020           Notice of Service
                       SCANNED UNDER RETURN ON 02-05-20
                         Filed By: JOSHUA PAUL WUNDERLICH
                         On Behalf Of: JIMMY BRIDEN, RICHELLA BRIDEN

  02/05/2020           Corporation Served
                       Document ID - 20-SMCC-60; Served To - TRIUMPH FOODS, LLC; Server - ; Served Date - 05-FEB-20;
                       Served Time - 10:06:00; Service Type - Sheriff Department; Reason Description - Served; Service Text
                       - SERVED TO KEVIN WEDEFING, REG AGT

  01/29/2020           Summons Issued-Circuit
                       Document ID: 20-SMCC-60, for TRIUMPH FOODS, LLC. - SUMMONS ISSUED
                       Order - Special Process Server
                       ORDER APPOINTING PROCESS SERVER SIGNED BY DEPUTY CLERK
                       Trial Setting Scheduled
                           Scheduled For: 04/27/2020; 9:00 AM ; KATE H SCHAEFER; Buchanan

  01/28/2020           Judge/Clerk - Note
                       DIVISION CARD CASE SET UP
                       Judge Assigned
                       Filing Info Sheet eFiling
                           Filed By: JOSHUA PAUL WUNDERLICH
                       Motion Special Process Server
                       Motion for Approval and Appointment of Private Process Server. - D&B LEGAL SERVICES, INC.
                         Filed By: JOSHUA PAUL WUNDERLICH
                         On Behalf Of: JIMMY BRIDEN, RICHELLA BRIDEN
                       Pet Filed in Circuit Ct
                       PETITION FOR DAMAGES; Exhibit 1; Exhibit 2; Exhibit 3; Exhibit 4.
                         Filed By: JOSHUA PAUL WUNDERLICH
 Case.net Version 5.14.0.17                                           Return to Top of Page                                         Released 11/25/2019




                                                                                                                       Exhibit A


https://www.courts.mo.gov/casenet/cases/searchDockets.do                                                                                             1/1
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                                                                           20BU-CV00342

             IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI

 JIMMY BRIDEN et al.,                       )
                                            )
               Plaintiffs,                  )
                                            )      Case No.:
        v.                                  )
                                            )      Division:
 TRIUMPH FOODS, LLC,                        )
                                            )
               Defendant.                   )

MOTION FOR APPROVAL AND APPOINTMENT OF PRIVATE PROCESS SERVER

       COME NOW Plaintiffs, by and through their attorney of record, and for their Motion for

Approval/Appointment of Private Process Server, and requests that D&B Legal Services, Inc.:

Legal Names (s):


Jamie Andrews PPS20-0009       John Frago PPS20-0039             Daniel Maglothin PPS20-0069
Caleb Battreal PPS20-0010      Kenneth Frechette II PPS20-0040   Chad Maier PPS20-0070
Bernard Beletsky PPS20-0011    Andrew Garza PPS20-0041           Kenneth Marshall PPS20-0071
Carrington Bell PPS20-0012     Bradley Gordon PPS20-0042         Deborah Martin PPS20-0072
Thomas Bogue PPS20-0013        Thomas Gorgen PPS20-0043          Michael Martin PPS20-0073
Brent Bohnhoff PPS20-0014      Tom Gorgone PPS20-0044            Todd Martinson PPS20-0074
Arthur Boyer PPS20-0015        Richard Gray PPS20-0045           Timothy McGarity PPS20-0075
Scott Brady PPS20-0016         Charles Gunning PPS20-0046        Casey McKee PPS20-0076
Gary Brakemeyer PPS20-0017     James Hannah PPS20-0047           Michael Meador PPS20-0077
Jeff Brown PPS20-0018          Rufus harmon PPS20-0048           Kenny Medlin PPS20-0078
Hester Bryant PPS20-0019       James Harvey PPS20-0049           Maria Meier PPS20-0079
Nicholas Bull PPS20-0020       Natalie Hawks PPS20-0050          Thomas Melte PPS20-0080
Randy Burrow PPS20-0021        Douglas Hays PPS20-0051           Matthew Millhollin PPS20-0081
Gory Burt PPS20-0022           Stephen Heitz PPS20-0052          James Mitchell PPS20-0082
Kyle Carter PPS20-0023         Wendy Hilgenberg PPS20-0053       Alexious Moehring PPS20-0083
Michael Conklin PPS20-0024     James Hise PPS20-0054             Jonathan Moehring PPS20-0084
Lisa Corbett PPS20-0025        Gerald Hissam PPS20-0055          Jason Moody PPS20-0085
Dennis Dahlberg PPS20-0026     William Hockersmith PPS20-0056    Ronald Moore PPS20-0086
Mary Dahlberg PPS20-0027       Alex Holland PPS20-0057           Andrew Myers PPS20-0087
Bert Daniels JR PPS20-0028     Mary Hurley PPS20-0058            Frederick Myers PPS20-0088
Richard Davis PPS20-0029       Betty Johnson PPS20-0059          James Myers PPS20-0089
David Dice PPS20-0030          Edward Johnson PPS20-0060         Stephanie Myers PPS20-0090
Maureen Dice PPS20-0031        James Johnson PPS20-0061          Christopher New PPS20-0091
Norman Diggs PPS20-0032        Etoya Jones PPS20-0062            Jeremy Nicholas PPS20-0092
Edwina Ditmore PPS20-0033      Patrick Jones PPS20-0063          Michael Noble PPS20-0093
Marrissa Doan PPS20-0034       Derec Kelley PPS20-0064           Greg Noll PPS20-0094
Shawn Edwards PPS20-0035       Brent Kirkhart PPS20-0065         Robert O’Sullivan PPS20-0095
Tonya Elkins PPS20-0036        Janice Kirkhart PPS20-0066        Mike Perry PPS20-0096
William Ferrell PPS20-0037     Tyler Kirkhart PPS20-0067         Bob Peters PPS20-0097
James Frago PPS20-0038         Damon Lester PPS20-0068           Devin Pettenger PPS20-0098
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Carrie Pfeifer PPS20-0099         Michael Siegel PPS20-214          Steve Trueblood PPS20-0123
Craig Poese PPS20-0159            Joe Sherrod PPS20-0112            Jonathan Trumpower PPS20-0124
Bill Powell PPS20-0100            Andrew Sitzes PPS20-0113          Ryan Weekley PPS20-0125
Dee Powell PPS20-0101             Laura Skinner PPS20-0114          Misty Wege PPS20-0126
Samantha Powell PPS20-0102        Thomas Skinner PPS20-0115         Andrew Wheeler PPS20-0127
Kim Presler PPS20-0103            Richard Skyles PPS20-0215         Andrew Wickliffe PPS20-0128
Marcus Presler PPS20-0104         Chris Stanton PPS20-0216          Norman Wiley PPS20-0129
Mark Rauss PPS20-0105             William Steck PPS20-0116          Gregory Willing PPS20-0130
Terri Richards PPS20-0106         Randy Stone PPS20-0117            Conni Wilson PPS20-0131
Jorge Rivera PPS20-0107           Sonja Stone PPS20-0118            Jerry Wilson PPS20-0132
Sammie Robinson PPS20-0108        David Taliaferro PPS20-0119       Debra Woodhouse PPS20-0133
Richard Roth PPS20-0109           Michael Taylor PPS20-0120         Stan Yoder PPS20-0134
Edna Russell PPS20-0110           Robert Torrey PPS20-0121          Greg Zotta PPS20-0135
Brenda Schiwitz PPS20-0111        Lucas Traugott PPS20-0122



who are qualified persons to serve process, are not parties to the case and are not less than eighteen

(18) years of age, as private process servers in the above cause to serve process in this case.


                                               Respectfully Submitted,

                                               CORNERSTONE LAW FIRM



                                          By: /s/ Joshua P. Wunderlich
                                              Joshua P. Wunderlich           MO BAR 64254
                                              j.wunderlich@cornerstonefirm.com
                                              8350 N. St. Clair Ave., Ste. 225
                                              Kansas City, Missouri 64151
                                              Telephone             (816) 581-4040
                                              Facsimile             (816) 741-8889
                                              ATTORNEY FOR PLAINTIFFS


                                              ORDER

It is hereby ordered that the Plaintiffs’ Motion for Approval and Appointment of private process

server is granted, and the above-named individuals are hereby approved and appointed to serve

process in the above-captioned matter.



Date:
                                                      Judge or Clerk
                                                                                                 Electronically Filed - Buchanan - January 28, 2020 - 03:25 PM
                                                                           20BU-CV00342

             IN THE CIRCUIT COURT OF BUCHANAN COUNTY, MISSOURI

 JIMMY BRIDEN et al.,                       )
                                            )
               Plaintiffs,                  )
                                            )      Case No.: 20BU-CV00342
        v.                                  )
                                            )      Division: 1
 TRIUMPH FOODS, LLC,                        )
                                            )
               Defendant.                   )

MOTION FOR APPROVAL AND APPOINTMENT OF PRIVATE PROCESS SERVER

       COME NOW Plaintiffs, by and through their attorney of record, and for their Motion for

Approval/Appointment of Private Process Server, and requests that D&B Legal Services, Inc.:

Legal Names (s):


Jamie Andrews PPS20-0009       John Frago PPS20-0039             Daniel Maglothin PPS20-0069
Caleb Battreal PPS20-0010      Kenneth Frechette II PPS20-0040   Chad Maier PPS20-0070
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                                               Respectfully Submitted,

                                               CORNERSTONE LAW FIRM



                                          By: /s/ Joshua P. Wunderlich
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                                              j.wunderlich@cornerstonefirm.com
                                              8350 N. St. Clair Ave., Ste. 225
                                              Kansas City, Missouri 64151
                                              Telephone             (816) 581-4040
                                              Facsimile             (816) 741-8889
                                              ATTORNEY FOR PLAINTIFFS


                                              ORDER

It is hereby ordered that the Plaintiffs’ Motion for Approval and Appointment of private process

server is granted, and the above-named individuals are hereby approved and appointed to serve

process in the above-captioned matter.



Date:     Wednesday, January 29, 2020                            /s/K. DOBOSZ, Deputy Clerk
                                                      Judge
                                                      XXXXor Clerk
             IN THE 5TH JUDICIAL CIRCUIT, BUCHANAN COUNTY, MISSOURI

Judge or Division:                                              Case Number: 20BU-CV00342
KATE H SCHAEFER
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
JIMMY BRIDEN ET AL                                              JOSHUA PAUL WUNDERLICH
                                                                8640 N. GREEN HILLS ROAD
                                                                SUITE 42
                                                          vs.   KANSAS CITY, MO 64154
Defendant/Respondent:                                           Court Address:
TRIUMPH FOODS, LLC                                              BUCHANAN CO COURTHOUSE
Nature of Suit:                                                 411 JULES ST
CC Employmnt Discrmntn 213.111                                  SAINT JOSEPH, MO 64501
                                                                STATUS REVIEW HEARING DATE: 4-27-20
                                                                @ 9:00 AM, DIV 1                                             (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: TRIUMPH FOODS, LLC
                            Alias:
 REG, AGENT: KEVIN L WEDEKING
 5302 STOCKYARDS EXPRESSWAY
 ST. JOSEPH, MO 64504
      COURT SEAL OF         You         are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.
                                    Wednesday,   January 29, 2020
                                    _______________________________               ______________________________________________________
                                                                                            /s/K. DOBOSZ, Deputy Clerk
    BUCHANAN COUNTY
                                                      Date                                              Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in __________________________ (County/City of St. JOSEPH), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                           _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                      Date                                      Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.

OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 20-SMCC-60               1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
Electronically Filed - Buchanan - February 07, 2020 - 11:11 AM
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